                          Case 1:20-cv-00092-JRH-BKE Document 14 Filed 11/06/20 Page 1 of 1

         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  QUAME LAMAR COLLINS,

                      Plaintiff,
                                                                                    JUDGMENT IN A CIVIL CASE


                                            V.                                    CASE NUMBER:        CV120-092

                  KATIE YOUNG, Nurse, et al.,

                      Defendants.




                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, pursuant to the Order of this Court dated November 6, 2020, adopting the Report and

                     Recommendation of the Magistrate Judge, this case is dismissed and stands closed.




            11/6/2020                                                           John E. Triplett, Acting Clerk of Court
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
GAS Rev 10/1/03
